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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.    CV 11-05890 DMG (DTBx)                                    Date    April 19, 2012

  Title Ronny Jao v. Western Progressive LLC                                           Page     1 of 1

  Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

          VALENCIA VALLERY                                              NOT REPORTED
             Deputy Clerk                                                Court Reporter

     Attorneys Present for Plaintiff(s)                        Attorneys Present for Defendant(s)
              None Present                                               None Present

  Proceedings: IN CHAMBERS—ORDER TO SHOW CAUSE WHY THIS ACTION
               SHOULD NOT BE DISMISSED FOR FAILURE TO PROSECUTE

         Plaintiff has not filed a third amended complaint and the March 20, 2012 deadline to do
  so has passed. Therefore, Plaintiff is hereby ORDERED TO SHOW CAUSE why this action
  should not be dismissed for failure to prosecute. Plaintiff shall file his response by no later than
  April 26, 2012.

  IT IS SO ORDERED.




  CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk vv
